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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

    In re:
                                                             Chapter 11
    LUCKY’S MARKET PARENT COMPANY,
    LLC, et al.,1                                            Case No. 20-10166 (JTD)

                     Debtors.                                (Joint Administration Pending)


      MOTION OF DEBTORS FOR APPROVAL OF (I) PROCEDURES FOR STORE
     CLOSING SALES AND (II) ASSUMPTION OF THE LIQUIDATION CONSULTING
                                AGREEMENT

             The above-captioned debtors and debtors in possession (the “Debtors”) hereby move the

Court (the “Motion”) for entry of an interim order, substantially in the form attached hereto as

Exhibit A (the “Proposed Order”), pursuant to sections 105(a), 363, 365, and 554 of title 11 of

the United States Code (the “Bankruptcy Code”); Rules 6003, 6004, 6006, and 9014 of the

Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and Rule 9013-1 of the Local

Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the District

of Delaware (the “Local Rules”), granting the Debtors interim authority, but not direction, to (i)

implement the Store Closing Procedures attached as Exhibit 1 to the Proposed Order and conduct

or continue conducting the Store Closing Sales at the Stores, as applicable; and (ii) assume the

Liquidation Consultant Agreement. In support of the Motion, the Debtors rely upon the




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  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are Lucky’s Market Parent Company, LLC (2055), Lucky’s Farmers Market Holding Company, LLC (5480),
Lucky’s Market Operating Company, LLC (7064), LFM Stores LLC (3114), Lucky’s Farmers Market, LP (0828),
Lucky’s Farmers Market Resource Center, LLC (7711), Lucky’s Market Holding Company 2, LLC (0607), Lucky’s
Market GP 2, LLC (9335), Lucky’s Market 2, LP (8384), Lucky’s Market of Longmont, LLC (9789), Lucky’s Farmers
Market of Billings, LLC (8088), Lucky’s Farmers Markets of Columbus, LLC (3379), Lucky’s Farmers Market of
Rock Hill, LLC (3386), LFM Jackson, LLC (8300), Lucky’s Farmers Market of Ann Arbor, LLC (4067), Lucky’s
Market of Gainesville, LLC (7877), Lucky’s Market of Bloomington, LLC (3944), Lucky’s Market of Plantation,
LLC (4356), Lucky’s Market of Savannah, GA, LLC (1097), Lucky’s Market of Traverse, City, LLC (2033), Lucky’s
Market of Naples, FL, LLC (8700), and Sinoc, Inc. (0723).


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Declaration of Andrew T. Pillari, Chief Financial Officer of Debtors, in Support of Chapter 11

Petitions and First Day Pleadings, filed with the Court concurrently herewith (the “First Day

Declaration”). In further support of the Motion, the Debtors, by and through their undersigned

counsel, respectfully represent:

                                   PRELIMINARY STATEMENT

         1.    Debtors commenced these Chapter 11 Cases for the purpose of liquidating all of

their stores not included in the proposed sale process discussed below. Prior to the Petition Date,

the Debtors and their advisors engaged in a systematic review of each of their 39 open stores and

19 unopened stores, analyzing their performance, profitability, liquidity, and market impact.

Historically, the Debtors’ underperforming stores are, among other things, in regions over-

saturated with competition (new and historical) and/or are too costly for the Debtors to operate.

Accordingly, continued operation of such underperforming stores no longer remains viable.

Indeed, before the commencement of these Chapter 11 Cases, the Debtors and their advisors

identified and commenced the wind down and liquidation of 32 stores (the “Closing Stores”).

         2.    In formulating the list of Closing Stores, the Debtors considered, among other

factors, current occupancy costs, historical store profitability, recent and projected sales trends,

specific circumstances related to a store’s performance, current liquidity, and whether any firm

offer for such store was obtained or likely available from third parties. The Debtors estimate that,

absent closure, the Closing Stores will collectively generate approximately $30 million in

operating losses for the fiscal year 2020.

         3.    Leading up to the Petition Date, the Debtors, in consultation with their advisors,

developed procedures to sell or otherwise dispose of the inventory and furniture, fixtures, and

equipment (“FF&E” and, together with applicable inventory, the “Store Closing Assets”) at the



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Closing Stores, in each case, free and clear of all liens, claims, interests, and other encumbrances

(the “Store Closing Procedures,” and the liquidation sale, the “Store Closing Sales”).

         4.    The Debtors also conducted an extensive prepetition sales process to sell as many

of the Debtors’ stores as possible. As a result of these efforts, the Debtors have received indications

of interest for the sale of FF&E and transfer of leases for approximately 26 stores to third-party

purchasers. The Debtors have executed an Asset Purchase Agreement with Aldi and are

negotiating the terms of other Assets Purchase Agreements pursuant to letters of intent that have

been received (the “APAs”) for certain other stores (the “Sold Stores”). The Debtors will file

separate motions to establish bid procedures for each of the APAs for the sale of certain of the

Debtors’ assets in connection with the Sold Stores. The Debtors will also file a motion to shorten

notice of the bidding procedures in order to run an expedited and cost-efficient post-petition sale

process given the extensive prepetition process. As the sale transactions only contemplate the sale

of unexpired leases and FF&E, the Store Closing Procedures will also apply to the Sold Stores to

the extent applicable.

         5.    The Debtors continue to operate 7 stores (the “Operating Stores”, together with

the Closing Stores and the Sold Stores, the “Stores”). The Debtors are finalizing the terms of a

sale of the Operating Stores, which will be subject to a bidding procedures motion and approval

by the Court as well. The Debtors, in their business judgement, believe that sale of the Operating

Stores provides value to the Debtors in excess of what would otherwise be realized in a liquidation.

         6.    Before commencing any store liquidations, the Debtors and their advisors,

formulated a comprehensive store closing schedule. Store Closing Sales at the Closing Stores

began on or around January 22, 2020, and are expected to be completed by February 29, 2020, at

which time the Debtors will exit the store facility.



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         7.     To maximize the value of the Store Closing Assets and effectuate an orderly

liquidation process, the Debtors also seek authority to assume a liquidation consulting agreement

dated January 26, 2020 (the “Liquidation Consulting Agreement”) between Lucky’s Market

Parent Company, LLC and Great American Global Partners, LLC (referred to hereout as “Great

American” or the “Liquidation Consultant”). The Liquidation Consultant will assist with the

sale of FF&E for certain Stores. With the help of the Liquidation Consultant, the Debtors estimate

that the sale of the Store Closing Assets in the Stores will yield approximately $1.5 million in gross

proceeds.

         8.    The relief requested in this Motion is integral to maximizing value for the Debtors’

estates and their economic stakeholders. It will permit the Debtors to continue implementing the

Store Closing Sales at the Stores, and it will establish fair and uniform Store Closing Procedures

to assist the Debtors and their creditors through the Debtors’ liquidation and sale processes.

                                         BACKGROUND

         9.      On the date hereof (the “Petition Date”), each of the Debtors filed a voluntary

petition in this Court commencing a case for relief under chapter 11 of the Bankruptcy Code (the

“Chapter 11 Cases”). The Debtors continue to manage and operate their business as debtors in

possession pursuant to Bankruptcy Code sections 1107 and 1108. No trustee or examiner has been

requested in the Chapter 11 Cases and no committees have yet been appointed.

         10.   Concurrently with the filing of this Motion, the Debtors have requested procedural

consolidation and joint administration of the Chapter 11 Cases pursuant to Bankruptcy Rule

1015(b).




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         11.   The factual background regarding the Debtors, including their business operations,

their capital and debt structures, and the events leading to the filing of the Chapter 11 Cases, is set

forth in detail in the First Day Declaration and fully incorporated herein by reference.

                                         JURISDICTION

         12.    The Court has jurisdiction to consider this matter pursuant to 28 U.S.C. §§ 157 and

1334, and the Amended Standing Order of Reference from the United States District Court for the

District of Delaware, dated February 29, 2012. This is a core proceeding pursuant to 28 U.S.C. §

157(b). Venue is proper before the Court pursuant to 28 U.S.C. §§ 1408 and 1409.

         13.   Pursuant to Rule 9013–1(f) of the Local Rules, the Debtors consent to the entry of

a final order by the Court in connection with this Motion to the extent that it is later determined

that the Court, absent consent of the parties, cannot enter final orders or judgments consistent with

Article III of the United States Constitution.

                                      RELIEF REQUESTED

         14.   By this Motion, pursuant to sections 105(a), 363, 365, and 554 of the Bankruptcy

Code, Bankruptcy Rules 6003, 6004, 6006, and 9014, and Local Rule 9013-1, the Debtors request

interim authority, but not direction, to (i) implement the Store Closing Procedures attached as

Exhibit 1 to the Proposed Order granting the relief requested in this Motion on an interim basis

and conduct or continue conducting the Store Closing Sales at the Stores, as applicable; and (ii)

assume the Liquidation Consulting Agreement attached to the Proposed Order as Exhibit 2.

                            THE STORE CLOSING PROCEDURES

         15.   The Debtors propose implementing the Store Closing Procedures, substantially in

the form attached to the Proposed Order, to facilitate seamless Store Closing Sales. The Debtors

have determined that, in the exercise of their business judgment and in consultation with their



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advisors and their prepetition secured lender, implementing the Store Closing Procedures will

provide the most timely and efficient means for maximizing the value of the Store Closing Assets.

         16.      Before the commencement of these Chapter 11 Cases, the Debtors notified parties

affected by the closure of the Closing Stores, including employees.

         17.      Certain states and localities in which the Debtors operate stores have or may have

laws, rules, regulations, or ordinances regarding licensing or other requirements governing the

conduct of store closings, liquidations, or other inventory clearance sales (collectively, the

“Liquidation Sale Laws”). Liquidation Sale Laws may establish licensing, permitting or bonding

requirements, waiting periods, time limits, and bulk sale restrictions and augmentation limitations

that would otherwise apply to the Store Closing Sales. The Debtors believe that in most cases, the

Store Closing Procedures are consistent with Liquidation Sale Laws and with the leases affected

by the Store Closing Sales. Certain requirements, however, may hamper the Debtors’ efforts to

maximize the value of their Store Closing Assets, a significant portion of which consists of

perishable inventory. Thus, the Debtors seek authority from the Court to conduct the Store Closing

Sales in accordance with the Store Closing Procedures without complying with the Liquidation

Sale Laws, when the two are inconsistent.2

         18.      Similarly, the Debtors respectfully request a finding that any contractual

restrictions that could otherwise inhibit or prevent the Debtors’ ability to maximize recovery

through the Store Closing Sales are unenforceable. In certain cases, the Store Closing Sales may

be inconsistent with certain provisions of leases, subleases, vendor contracts, or other documents

associated with the Stores, including reciprocal easement agreements, agreements containing


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 The Debtors will continue to comply with applicable laws, rules, regulations and ordinances that are for the protection
of the health and safety of the public and in support of consumer protection laws.




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covenants, conditions, and restrictions, including “go dark” provisions and landlord recapture

rights, or other similar documents or provisions.

         19.   Accordingly, the Debtors also request that the Court order that no person or entity,

including, without limitation, utilities, landlords, contract counterparties, suppliers, creditors, and

all persons acting for or on their behalf, shall interfere with or otherwise impede the conduct of the

Store Closing Sales, or institute any action against the Debtors or landlords at the Stores in any

court (other than in this Court) or before any administrative body in any way that directly or

indirectly interferes with, obstructs, or otherwise frustrates the conduct of the Store Closing Sales,

including the advertising and promotion (including through the posting of signs) thereof.

                     THE LIQUIDATION CONSULTING AGREEMENT

         20.   Before engaging the Liquidation Consultant, the Debtors carefully considered the

number of stores that would likely need to undergo procedures substantially similar to the Store

Closing Procedures, the resources needed to implement such procedures, and the desired timing to

complete the process of liquidating and in most instances closing such stores. It was evident that

retaining a liquidating firm was warranted under the circumstances and necessary to maximize the

value of the Store Closing Assets and minimize burdensome costs to the Debtors’ estates.

         21.   The Debtors determined that the Agreement with the Consultant reflects current

market conditions, pricing, and terms. The Debtors have determined, in an exercise of their

business judgment, that (a) the services of the Consultant are necessary for a seamless and efficient

large-scale execution of the Store Closing Sales, as is contemplated by this Motion, and to

maximize the value of the assets being sold, and (b) the Consultant is capable of performing the

required tasks on favorable financial terms, as determined by the evaluation process. Accordingly,




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the Debtors selected the Liquidation Consultant in accordance with the terms and conditions set

forth in the Liquidation Consulting Agreement.

           22.    The material terms of the Liquidation Consulting Agreement are summarized

below.3

    Term                            Summary

    Services Provided by the As the Debtors’ (the “Seller”) exclusive agent in connection with
    Liquidation Consultant conducting and assisting in the sale of FF&E, the Consultant shall,
                             among other things:

                                    Sell FF&E, in whole or in part, at public and/or private sale(s) to the
                                    highest or best bidder thereof, as determined by the Consultant in an
                                    “AS IS” and “WHERE IS” condition without any warranty or guarantee
                                    on behalf of, and solely in the name of, the Company. The Consultant
                                    shall conduct the sale in a manner intended to maximize recovery given
                                    the time frame provided to vacate the premises by February 29, 2020.
                                    The Consultant will have complete authority to implement
                                    commercially reasonable advertising and to conduct the sale in the
                                    manner, and utilizing the methods, that Consultant deems, in its
                                    professional judgment, to be appropriate and in the best interest of the
                                    Seller and subject to the Budget (the “Budget”) as included in Exhibit
                                    F.
    Assets to Be Sold               The FF&E (the “Assets”) are located at the site(s) as listed on Exhibit
                                    E, each and collectively referred to as the “Store(s)” or the
                                    “Premise(s).” Stores on the Exhibit E have been designated as either
                                    “Included Stores”, which shall be subject to the sale, exclusivity and
                                    all other terms of the Agreement with the Consultant, or “Deferred
                                    Stores” which are pending sale to a third party, and may be designated
                                    by the Seller as an Included Store at a later date.

    Expenses of Consultant          The Consultant shall also be entitled to reimbursement for all sale
                                    related expenses (hereinafter referred to as “Costs”) incurred by the
                                    Consultant in preparing for and conducting the sale, including labor,
                                    marketing, supplies and other related costs. The Consultant shall not
                                    be entitled to reimbursement for Costs in excess of $276,013 for
                                    Included Stores and up to $298,245 for Deferred Stores, per the

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 Capitalized terms used but not defined in this summary of the Liquidation Consulting Agreement have the meaning
ascribed to them therein. To the extent that this summary conflicts with the actual terms of the Liquidation Consulting
Agreement, the Liquidation Consulting Agreement shall control. A copy of the Liquidation Consulting Agreement is
attached as Exhibit 2 to the Proposed Order.




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                            attached Budget as Exhibit F, without prior authorization from the
                            Seller. All Costs shall be documented in the Consultant’s final
                            settlement package provided to the Seller. The following have not
                            been included in the Costs and are not deemed a responsibility of the
                            Consultant: occupancy costs, personal property insurance, data
                            backup, removal and/or destruction (if applicable), freon evacuation,
                            Lucky’s Market provided personnel or marketing. The Budget may
                            only be modified by mutual written agreement of the Merchant and
                            the Consultant (the “Parties”). The Parties acknowledge that the
                            Budget will be updated in connection with any modification of the
                            Included and Deferred Stores and agree to cooperate in good faith
                            with respect to such updates.
 Consultant’s Fee           As consideration for its services under the Agreement, the Seller shall
                            pay to the Consultant a base fee equal to (a) fifteen percent (15.0%) of
                            the Gross Sale Price of Assets that are sold.
 Seller’s Indemnification   Seller shall and hereby agrees to defend, indemnify, and hold harmless
                            Consultant and its agents, employees, principals and Supervisors from
                            any and all third party Losses arising out of (i) the environmental
                            condition of the real property on which the Premises are located, and/or
                            any asserted damage, if any, to adjacent land owners, all as now or may
                            at any time hereafter be in effect; (ii) the handling by any parties of any
                            Sensitive Information remaining at the Premises or within the Assets
                            sold, discarded or abandoned; (iii) any defect or failure not caused by
                            the grossly negligent and/or intentional misconduct of Consultant in
                            product design or materials or storage, manufacture, distribution, sale
                            or use by any person or entity of any product or goods; (iv) Seller’s or
                            Company's failure to pay over to the appropriate taxing authority any
                            taxes required to be paid by Seller or Company during the sale term in
                            accordance with applicable law or to pay any liability referred to in
                            Section 10 of the Liquidation Consulting Agreement; (v) negligent or
                            intentional acts or omissions of Seller, Company or their agents,
                            employees, representatives and principals in connection with the Sale;
                            (vi) liens, claims, interests and encumbrances asserted against the
                            Assets; and/or (vii) the breach by Seller or Company of any of their
                            representations, warranties or other obligations under this Agreement.
 Consultant’s                Consultant shall reimburse, indemnify, defend and hold the Company
 Indemnification            and their respective officers, directors, agents, and employees,
                            harmless from and against any damage, loss, expense (including
                            reasonable attorneys' fees) or penalty, or any claim or action therefore,
                            by or on behalf of any person (“Losses”), arising out of (i) any defect
                            or failure in an Asset caused by the grossly negligent and/or
                            intentional misconduct of Consultant in the storage, transportation,
                            sale of the Asset; (ii) negligent or intentional acts or omissions of
                            Consultant or its subcontractor, agents, employees, representatives


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                             and principals in connection with this Agreement; (iv) claims asserted
                             by the Consultant’s employees or agents, including the Consultant’s
                             employees' or agents' payroll claims (wage claims, claims for taxes
                             required to be withheld from wages, social security, etc.), or
                             unemployment compensation claims; (v) any property damage to the
                             premises caused by direct result of Consultant’s or its subcontractor,
                             agents, employees, representatives and principals negligence that is
                             not repaired to the condition prior to the damage, excluding any
                             damage caused as the result of a buyer’s removal of Assets from the
                             premises; and (vi) the breach by Consultant of any of their
                             representations, warranties or other obligations under the Agreement.

 Exclusivity            Seller retains Consultant to be its sole and exclusive agent to sell the
                        Assets of the Included Stores. With the exception of the Deferred
                        Stores, Seller hereby agrees that it will not effectuate any sale of the
                        Assets on its own without utilizing the services of Consultant in
                        connection therewith. Upon execution of the Agreement, Seller will
                        turn over all sales or negotiations for sales of the Assets to Consultant,
                        as well as all contact information for parties that have expressed interest
                        in the Assets to Seller. Except as set forth in this Agreement, Seller
                        agrees not to remove any Assets from the Sale for any reason after
                        execution of the Agreement without prior notice to, and consent of,
                        Consultant. The sale shall be without reserve.
 Seller’s     Insurance Company shall maintain, throughout the sale term and until the
 Obligations            expiration or termination of the Agreement, liability insurance policies
                        (including, without limitation, products liability, comprehensive
                        commercial general liability insurance, and auto liability insurance),
                        with at least the coverage limits currently existing thereunder, covering
                        injuries to persons and property in or in connection with the Stores
                        and/or the Merchandise, and shall cause Consultant to be named an
                        additional insured with respect to all such policies. At Consultant’s
                        request, the Company shall provide Consultant with a certificate or
                        certificates evidencing the insurance coverage required hereunder and
                        that Consultant is an additional insured thereunder. In addition, the
                        Company shall maintain throughout the sale term, in such amounts as
                        it currently has in effect, workers compensation insurance in
                        compliance with all applicable statutory requirements.
 Consultant’s Insurance Consultant shall maintain, throughout the sale term and until the
 Obligations            expiration or termination of this Agreement, liability insurance policies
                        (including, without limitation, products liability, comprehensive
                        commercial general liability insurance, and auto liability insurance),
                        with at least the coverage limits currently existing thereunder, covering
                        injuries to persons and property in or in connection with the Stores
                        and/or the Merchandise, and shall cause Consultant to be named an

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                              additional insured with respect to all such policies. The Company shall
                              provide Consultant with a certificate or certificates evidencing the
                              insurance coverage required hereunder and that Consultant is an
                              additional insured thereunder. In addition, the Company shall maintain
                              throughout the sale term, in such amounts as it currently has in effect,
                              workers compensation insurance in compliance with all applicable
                              statutory requirements.


         23.    The Debtors believe that the terms of the Liquidation Consulting Agreement are

market, reasonable, and that assumption of the Liquidation Consulting Agreement is an exercise

of their sound business judgment.

                                     BASIS FOR RELIEF

         A.     Immediately Implementing the Store Closing Procedures and Continuing
                Store Closing Sales Constitutes an Exercise of the Debtors’ Sound Business
                Judgment

         24.    The Court may grant the relief requested herein pursuant to section 363 of the

Bankruptcy Code. Section 363(b) of the Bankruptcy Code provides, in relevant part, that “[t]he

[debtor], after notice and a hearing, may use, sell, or lease, other than in the ordinary course of

business, property of the estate.” 11 U.S.C. § 363(b)(1). To obtain Court approval to use property

under section 363(b) of the Bankruptcy Code for the purpose of a store closing sale, the Debtors

need only show a legitimate business justification for the proposed action. See In re Montgomery

Ward Holding Corp., 242 B.R. 147, 153 (D. Del. 1999) (requiring that debtor show a “sound

business purpose” to justify its actions under section 363 of Bankruptcy Code); see also In re

Phoenix Steel Corp., 82 B.R. 334, 335–36 (Bankr. D. Del. 1987); Comm. Of Equity Sec. Holders

v. Lionel Corp. (In re Lionel Corp.), 722 F.2d 1063, 1070 (2d Cir. 1983); Comm. Of Asbestos-

Related Litigants v. Johns-Manville Corp. (In re Johns-Manville Corp.), 60 B.R. 612, 616 (Bankr.

S.D.N.Y. 1986) (“Where the debtors articulates a reasonable basis for its business decisions (as

distinct from a decision made arbitrarily or capriciously), courts will generally not entertain


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objections to the debtors’ conduct”) (citation omitted). Moreover, if “the debtor articulates a

reasonable basis for its business decisions (as distinct from a decision made arbitrarily or

capriciously), courts will generally not entertain objections to the debtor’s conduct.” In re Johns-

Manville Corp., 60 B.R. at 616 (citation omitted); see also In re Tower Air, Inc., 416 F.3d 229,

238 (3d Cir. 2005) (stating that “[o]vercoming the presumptions of the business judgment rule on

the merits is a near-Herculean task”).

         25.    The relief requested represents a sound exercise of the Debtors’ business judgment,

is necessary to avoid immediate and irreparable harm to the Debtors’ estates, and is justified under

section 363(b) of the Bankruptcy Code. The Debtors and their advisors believe that the Store

Closing Procedures represent the most efficient and appropriate means of maximizing the value of

the Store Closing Assets, while balancing the potentially competing concerns of affected landlords

and other parties in interest.

         26.    Ample business justification exists to conduct Store Closing Sales at the Closing

Stores. Before the Petition Date, the Debtors, with the assistance of their advisors, engaged in an

extensive review of each of their stores to (a) identify underperforming and unprofitable stores,

and (c) determine which stores should be closed immediately to eliminate their ongoing negative

impact on the Debtors’ financial performance. This process also resulted in the Debtors’

identification of the Closing Stores, which they began to close on or about January 22, 2020. Any

Store Closing Assets that are not sold during the Store Closing Sales will be transferred to

surrounding locations or abandoned as described in further detail below.

         27.    Any interruption or delay in the Debtors’ ability to efficiently close Closing Stores

during these chapter 11 cases could have material adverse consequences for the Debtors’ estates.

The Closing Stores are a financial drain on the Debtors’ estates and the sooner the Closing Stores



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are liquidated and closed, the more cash the Debtors will have to administer these cases and

implement a sales process. Further, delays in commencing Store Closing Sales would have unique

implications for the Debtors, as grocers, given the limited shelf-life of much of the inventory they

sell. Accordingly, the Debtors believe that the Court should permit the Debtors flexibility to act in

the most expeditious and efficient manner possible. The Debtors submit that there is sufficient

business justification for the Debtors to continue implementing the Store Closing Procedures.

         28.    Courts in this district have approved similar store closing or liquidation sale

procedures in chapter 11 cases involving retail debtors. See, e.g., In re Central Grocers, Inc., No.

17-10993 (LSS) (Bankr. D. Del. May 17, 2017) [D.I. 191]; In re Sports Auth. Holdings, Inc., No.

16-10527 (MFW) (Bankr. D. Del. May 3, 2016) [D.I. 1700]; In re Golfsmith Int’l Holdings, Inc.,

No. 16-12033 (LSS) (Bankr. D. Del. Sept. 15, 2016) [D.I. 66]; In re Haggen Holdings, LLC, No.

15-11874 (KG) (Bankr. D. Del. Oct. 15, 2015) [D.I. 447]; In re Quiksilver, Inc., No. 15-11880

(BLS) (Bankr. D. Del. Sept. 10, 2015) [D.I. 72]; In re RadioShack Corp., No. 15-10197 (BLS)

(Bankr. D. Del. Feb. 6, 2015) [D.I. 106]; In re Coldwater Creek, No. 14-10867 (BLS) (Bankr. D.

Del. May 7, 2014) [D.I. 355]; In re Anchor Blue Retail Group, Inc., No. 09-11770 (LSS) (Bankr.

D. Del. June 18, 2009) [D.I. 182]; In re Goody’s Family Clothing, Inc., No. 08-11153 (CSS)

(Bankr. D. Del. June 13, 2008) [D.I. 116]; and In re Sharper Image Corp., No. 08-10322 (KG)

(Bankr. D. Del. Mar. 14, 2008) [D.I. 271].

         29.    In addition, the Court has the authority, pursuant to its equitable powers under

section 105(a) of the Bankruptcy Code, to authorize the relief requested herein, because such relief

is necessary for the Debtors to carry out their fiduciary duties under section 1107(a) of the

Bankruptcy Code. Section 105(a) of the Bankruptcy Code empowers bankruptcy courts to “issue

any order, process, or judgment that is necessary or appropriate to carry out the provisions of this



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title.” 11 U.S.C. § 105. Section 1107(a) of the Bankruptcy Code “contains an implied duty of the

debtor-in-possession” to “protect and preserve the estate, including an operating business’ going-

concern value,” on behalf of a debtor’s creditors and other parties in interest. In re CEI Roofing,

Inc., 315 B.R. 50, 59 (Bankr. N.D. Tex. 2004) (quoting In re CoServ, L.L.C., 273 B.R. 487, 497

(Bankr. N.D. Tex. 2002)); see also Unofficial Comm. of Equity Holders v. McManigle (In re

Penick Pharm., Inc.), 227 B.R. 229, 232–33 (Bankr. S.D.N.Y. 1998) (“[U]pon filing its petition,

the Debtor became debtor in possession and, through its management . . . was burdened with the

duties and responsibilities of a bankruptcy trustee”).

         B.      Sales of the Store Closing Assets Free and Clear of All Liens, Claims, and
                 Encumbrances Is Warranted

         30.     Pursuant to section 363(f) of the Bankruptcy Code, a debtor may sell property of

the estate “free and clear of any interest in such property of an entity other than the estate” if any

one of the following conditions is satisfied:

         (i) applicable non-bankruptcy law permits sale of such property free and clear of such

interest;

         (ii) such entity consents;

         (iii) such interest is a lien and the price at which such property is to be sold is greater than

the aggregate value of all liens on such property;

         (iv) such interest is in bona fide dispute; or

         (v) such entity could be compelled, in a legal or equitable proceeding, to accept a money

satisfaction of such interest.

11 U.S.C. § 363(f)(1)–(5).

         31.     To the extent there are liens on the Store Closing Assets that would be the subject

of the Store Closing Sales, the Debtors’ prepetition secured lender has consented and all other


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known holders of any liens on such assets, have each consented or the Debtors anticipate will each

consent to the sales thereof because such sales provide the most effective, efficient, and time-

sensitive approach to realizing the maximum value for the Store Closing Assets to the benefit of

all stakeholders. In any event, the Debtors believe that all lienholders, including the Debtors’

prepetition secured lender, could be compelled in a legal or equitable proceeding to accept money

satisfaction of their interests. In furtherance of the foregoing, any and all liens on the Store Closing

Assets sold in the Store Closing Sales would be satisfied or would attach to the remaining net

proceeds of such sales with the same force, effect, and priority as such liens currently have on the

Store Closing Assets, subject to the rights and defenses, if any, of the Debtors and of any party-in-

interest with respect thereto.

         32.    In addition, all known lienholders will receive notice and will be given opportunity

to object to the relief requested herein on a final basis. Any lienholders that do not object to the

sale of applicable Store Closing Assets should be deemed to have consented to such sale. See

Futuresource LLC v. Reuters Ltd., 312 F.3d 281, 285-86 (7th Cir. 2002) (“It is true that the

Bankruptcy Code limits the conditions under which an interest can be extinguished by a

bankruptcy sale, but one of those conditions is the consent of the interest holder, and lack of

objection (provided of course there is notice) counts as consent. It could not be otherwise;

transaction costs would be prohibitive if everyone who might have an interest in the bankrupt’s

assets had to execute a formal consent before they could be sold.” (internal citations omitted));

Hargrave v. Twp. of Pemberton (In re Tabone, Inc.), 175 B.R. 855, 858 (Bankr. D.N.J. 1994)

(finding failure to object to sale free and clear of liens, claims and encumbrances satisfies section

363(f)(2) of the Bankruptcy Code); Citicorp Homeowners Serv., Inc. v. Elliot (In re Elliot), 94

B.R. 343, 345-46 (E.D. Pa. 1988) (same); see also In re Enron Corp., Case No. 01-16034, 2003



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WL 21755006, at *2 (Bankr. S.D.N.Y. July 28, 2003) (order deeming all parties who did not object

to proposed sale to have consented under section 363(f)(2)).

         33.    Accordingly, the sale of the Store Closing Assets satisfies the statutory

requirements of section 363(f) of the Bankruptcy Code and should be free and clear of any liens,

claims, encumbrances, and other interests.

         C.     The Court Should Invalidate Contractual Restrictions That Impair the
                Debtors’ Ability to Conduct the Store Closing Sales

         34.    Store closing or liquidation sales are a routine part of chapter 11 cases involving

retail debtors. Such sales are consistently approved by courts, despite provisions in recorded

documents, contracts, or agreements purporting to forbid such sales. Indeed, any such contract or

agreement is unenforceable against the Debtor pending assumption or rejection thereof. See In re

Univ. Med. Ctr., 973 F.2d 1065, 1075 (3d Cir. 1992) (citing In re Bildisco, 465 U.S. 513, 532

(1984)); In re Nat’l Steel Corp., 316 B.R. 287, 302-07 (Bankr. N.D. Ill. 2004).

         35.    Courts in this district have entered orders deeming such restrictive contractual

provisions unenforceable in the context of store closing or liquidation sales. See, e.g., In re Central

Grocers, Inc., No. 17-10993 (LSS) (Bankr. D. Del. May 17, 2017) [D.I. 191]; In re Sports Auth.

Holdings, No. 16-10527 (MFW) (Bankr. D. Del. May 3, 2016) [D.I. 1700]; In re Haggen Holdings,

LLC, No. 15-11874 (KG) (Bankr D. Del. Oct. 15, 2015) [D.I. 447]; In re Quiksilver, Inc., No. 15-

11880 (BLS) (Bankr. D. Del. Sept. 10, 2015) [D.I.72]; In re RadioShack Corp., No. 15-10197

(BLS) (Bankr. D. Del. Feb. 6, 2015) [D.I. 106]; and In re Coldwater Creek, No. 14-10867 (BLS)

(Bankr. D. Del. May 7, 2014) [D.I. 355]. Moreover, the Store Closing Procedures, like the

liquidation sale guidelines approved in other cases cited above, provide the appropriate protections

for any legitimate concerns that landlords or other affected parties might otherwise have with

respect to the conduct of the Store Closing Sales.


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         36.    Accordingly, the Debtors request that the Court authorize the Debtors to conduct

the Store Closing Sales consistent with the Store Closing Procedures, without interference by any

utilities, landlords, suppliers, vendors, contract counterparties, or other persons affected, directly

or indirectly, by the Store Closing Sales.

         D.     The Court Should Waive Compliance With Any Liquidation Sale Laws That
                Restrict Store Closing Sales

         37.    There is ample support for granting the Debtors’ request for a waiver of the

requirement to comply with applicable Liquidation Sale Laws that are inconsistent with the Store

Closing Procedures. First, Liquidation Sale Laws often provide that, if a liquidation or bankruptcy

sale is authorized by a court, then a company need not comply with the Liquidation Sale Laws.

Second, pursuant to section 105(a) of the Bankruptcy Code, the Court has the authority to permit

the Store Closing Sales to proceed notwithstanding contrary Liquidation Sale Laws.

         38.    Third, this Court will be able to supervise the Store Closing Sales because the

Debtors and their assets are subject to this Court’s exclusive jurisdiction. See 28 U.S.C. § 1334.

Creditors and the public interest are adequately protected by notice of this Motion and the ongoing

jurisdiction and supervision of this Court. Moreover, section 959 of title 28 of the United States

Code, which requires debtors to comply with state and other laws in performance of their duties,

does not apply to the Store Closing Sales. See, e.g., In re Borne Chemical Co., 54 B.R. 126, 135

(Bankr. D.N.J. 1984) (holding that 28 U.S.C. § 959(b) is applicable only when property is being

managed or operated for the purpose of continuing operations, not liquidations). Relatedly, and as

further adequate protection, paragraph 12 of the Proposed Order includes a procedure whereby

aggrieved parties can seek relief from this Court in the event that there is a dispute relating to any

Liquidation Sale Law.




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         39.    Fourth, even if a Liquidation Sale Law does not expressly exempt bankruptcy sales

from its ambit, the Debtors believe that if such law conflicts with federal bankruptcy laws, it is

preempted by the Supremacy Clause of the United States Constitution. See U.S. Const. art. VI, cl.

2. To hold otherwise would severely impair the relief available under section 363 of the

Bankruptcy Code. Consistent with this premise, Bankruptcy Courts have recognized that federal

bankruptcy laws preempt state and local laws that contravene the underlying policies of the

Bankruptcy Code. See, e.g., Belculfine v. Aloe (In re Shenango Grp., Inc.), 186 B.R. 623, 628

(Bankr. W.D. Pa. 1995) (“Trustees and debtors-in-possession have unique fiduciary and legal

obligations pursuant to the bankruptcy code . . . [A] state statute [ ] cannot place burdens on them

where the result would contradict the priorities established by the federal bankruptcy code”).

Although preemption of state law is not always appropriate, as when the protection of public health

and safety is involved, see In re Baker & Drake, Inc. v. Pub. Serv. Comm’n of Nev. (In re Baker

& Drake), 35 F.3d 1348, 1353–54 (9th Cir. 1994) (finding no preemption when state law

prohibiting taxicab leasing was promulgated in part as a public safety measure), it is appropriate

when, as here, the only state laws involved concern economic regulation. See id. at 1353 (finding

that “federal bankruptcy preemption is more likely . . . where a state statute is concerned with

economic regulation rather than with protecting the public health and safety”).

         40.    Similar relief has been granted in other bankruptcy cases in this district. See, e.g.,

In re Central Grocers, Inc., No. 17-10993 (LSS) (Bankr. D. Del. May 17, 2017) [D.I. 191]; In re

Golfsmith Int’l Holdings, Inc., No. 16-12033 (LSS) (Bankr. D. Del. Sept. 15, 2016) [D.I. 66]; In

re Sports Auth. Holdings, No. 16-10527 (MFW) (Bankr. D. Del. May 3, 2016) [D.I. 1700]; In re

Haggen Holdings, LLC, No. 15-11874 (KG) (Bankr D. Del. Oct. 15, 2015) [D.I. 447]; In re

Quiksilver, Inc., No. 15-11880 (BLS) (Bankr. D. Del. Sept. 10, 2015) [D.I. 72]; In re RadioShack



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Corp., No. 15-10197 (BLS) (Bankr. D. Del. Feb. 6, 2015) [D.I. 106]; and In re Coldwater Creek,

No. 14-10867 (BLS) (Bankr. D. Del. May 7, 2014) [D.I. 355].

         41.    Accordingly, the Debtors further request that the Court authorize the Debtors to

conduct the Store Closing Sales consistent with the Store Closing Procedures, without any other

person or entity, including any lessor or federal, state, or local agency, department, or

governmental authority, being allowed to take any action to prevent, interfere with, or otherwise

hinder consummation of the Store Closing Sales or the advertising and promotion (including

through the posting of signs) thereof.

         E.     Abandonment of the De Minimis Assets Should Be Approved

         42.    The Debtors also request authority to abandon any property, including certain

surplus, burdensome, or non-core assets, which may include Store Closing Assets, remaining at

the leased premises after the completion of the applicable Store Closing Sales therein or on the

effective date of rejection of the applicable underling lease that the Debtors do not sell and

determine is too difficult to remove or expensive to store (such that such that the economic benefits

of removing or storing such property would by outweighed by the attendant costs) (collectively,

the “De Minimis Assets”).

         43.    Under section 554(a) of the Bankruptcy Code, a debtor, after notice and a hearing,

is authorized to “abandon any property of the estate that is burdensome to the estate or that is of

inconsequential value and benefit to the estate.” 11 U.S.C. § 554(a); see also Hanover Ins. Co. v.

Tyco Indus., Inc., 500 F.2d 654, 657 (3d Cir. 1974) (“[A trustee] may abandon his claim to any

asset, including a cause of action, he deems less than valuable than the cost of asserting that

claim.”); In re Contract Research Solutions, Inc., 2013 WL 1910286, at *4 (Bankr. D. Del. May

1, 2013) (“[A debtor] need only demonstrate that [it] has exercised sound business judgment in



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making the determination to abandon.”) (citations omitted). The right to abandon property is,

except for certain exceptions inapplicable in the present case, unfettered. See Midlantic Nat’l Bank

v. N.J. Dep’t of Envtl. Prot., 474 U.S. 494, 506–07 (1986) (noting one such exception and holding

that section 554(a) does not preempt state laws aimed at protecting the public’s health and safety).

         44.    Although the Debtors will have, in their business judgment, removed personal

property at the Closing Stores and other leased premises if feasible and of value to the Debtors’

ongoing operations or to their estates, a minimal amount of the Debtors’ personal property is

expected to remain at certain properties. The De Minimis Assets will primarily consist of

miscellaneous FF&E, advertising displays, and other store equipment that is of inconsequential

value or benefit to the Debtors’ estate or would be cost prohibitive to remove. Any landlord or

other designee will be free to dispose of the De Minimis Assets after the effective date of rejection

of the applicable underlying lease or after completion of the applicable Store Closing Sales without

notice or liability to any party. To the best of the Debtors’ knowledge, the abandonment of the

property would not be in violation of any state or local statutes or regulations reasonably designed

to protect the public health or safety. Accordingly, abandonment of the De Minimis Assets as of

the effective date of rejection of the applicable underlying leases or after completion of the

applicable Store Closing Sales should be approved.

         45.    Courts in this district and elsewhere have previously approved similar relief in other

chapter 11 cases involving retail debtors. See, e.g., In re Central Grocers, Inc., No. 17-10993

(LSS) (Bankr. D. Del. June 2, 2017) [D.I. 336]; In re Sports Auth. Holdings, Inc., No. 16-10527

(MFW) (Bankr. D. Del. May 3, 2016) [D.I. 1700] (authorizing the debtors to abandon any

unremoved or unsold furniture, fixtures, and equipment at a closing store); In re Great Atl. & Pac.

Tea Co., Inc., No. 15-23007 (RDD) (Bankr. S.D.N.Y. Jan. 22, 2016) [ECF No. 2367] (authorizing



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the debtors to abandon furniture, fixtures, and equipment as of a retroactive rejection date); In re

Am. Apparel, Inc., No. 15-12055 (BLS) (Bankr. D. Del. Nov. 20, 2015) [D.I. 364] (authorizing the

debtors to dispose of or abandon property of their estates left in stores after the completion of store

closing sales); In re RadioShack Corp., No. 15-10197 (BLS) (Bankr. D. Del. Feb. 2, 2015) [D.I.

455] (authorizing the debtors to abandon all unsold assets located at any of the closing stores); and

In re Metropark USA, Inc., No. 11-22866 (RDD) (Bankr. S.D.N.Y. May 5, 2011) [ECF No. 50]

(authorizing the debtor to reject a lease and abandon certain furniture, fixtures, and equipment on

the leased premises).

         F.     Assumption of the Liquidation Consulting Agreement is in the Best Interests
                of the Debtors and Their Estates.

         46.    Under section 365(a) of the Bankruptcy Code, a debtor may assume or reject any

executory contract or unexpired lease of the debtor provided that such assumption or rejection

satisfies the business judgment test. The Debtors’ decision to utilize and pay for the services

provided by the Liquidation Consultant is a reasonable exercise of their business judgment. Given

the number of Stores that will need to be simultaneously liquidated or closed, a nationally-

recognized liquidator, such as Great American, with significant experience managing large-scale

liquidations is best equipped to ensure a smooth liquidation process that will maximize the value

of the Store Closing Assets. The Liquidation Consultant has extensive expertise in conducting

store closing sales and can oversee, and assist in the management and implementation of, the Store

Closing Sales in an efficient and cost-effective manner. The Liquidation Consulting Agreement

will enable the Debtors to utilize the experience, skills, and resources of the Liquidation Consultant

to effectively and efficiently conduct the Store Closing Sales and, thus, significantly improve the

value to be received through the Store Closing Sales for the benefit of all stakeholders.




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         47.    The Liquidation Consultant’s fees will be based on the successful sale of the Store

FF&E. The Debtors believe that the prepetition proposal and negotiation process has ensured that

the fee structure set forth in the Liquidation Consulting Agreement is reasonable, market based,

and consistent with the fees this Court and other courts have approved in connection with entry

into liquidating consulting agreements. See, e.g., In re Central Grocers, Inc., No. 17-10993 (LSS)

(Bankr. D. Del. June 2, 2017) [D.I. 336] (authorizing a fee equal to 1.5% of gross sales if such

sales exceed the cost value of the merchandise and 15% of proceeds from sales of furniture,

fixtures, and equipment); In re Golfsmith Int’l Holdings, Inc., No. 16-12033 (LSS) (Bankr. D. Del.

October 13, 2016) [D.I. 267] (authorizing a fee equal to .75% of gross proceeds of sales of

merchandise and 15% of proceeds from sales of furniture, fixtures, and equipment); In re The

Great Atlantic & Pacific Tea Company, Inc., Case No. 15-23007 (Bankr. S.D.N.Y. Aug. 13, 2015)

[ECF No. 546] (authorizing a fee equal to 1% of gross sales if such sales exceed the cost value of

the merchandise and 10% of proceeds from sales of furniture, fixtures, and equipment); In re

Lack’s Stores, Inc., Case No. 10-60149 (Bankr. S.D. Tex. Nov. 17, 2010) [ECF No. 34] (approving

a $4,500 per store base fee, a fee equal to 20% of net proceeds of sales of merchandise in excess

of 64% of the cost value of the merchandise, and 15% of proceeds from sales of FF&E); In re

Bruno’s Supermarkets, LLC, Case No. 09-00634 (Bankr. N.D. Ala. Mar. 2, 2009) [ECF No. 306]

(approving a fee equal to 3% of net proceeds of sales of merchandise and 15% of proceeds from

sales of FF&E); and In re Value City Holdings, Inc., Case No. 08-14197 (Bankr. S.D.N.Y. Nov.

20, 2008) [ECF No. 158] (approving a $25,000 per store base fee, up to a $25,000 per store success

fee based on a 54.6% gross return on merchandise adjusted downward for lower gross return

percentages, and a fee equal to 10% of gross proceeds from sales of FF&E).




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         48.    As noted above, the Debtors believe that the expertise of the Liquidation Consultant

will greatly assist the Debtors in the disposition of the Stores and maximize the value to be realized

in that process. This will inure to the benefit of the Debtors’ estates, which will more than offset

any expenses incurred through the Liquidation Consultant’s retention. Thus, the decision to

employ the Liquidation Consultant is a sound exercise of the Debtors’ business judgment and

assumption of the Liquidation Consulting Agreement should be approved.

                                  RESERVATION OF RIGHTS

         49.    Nothing contained herein is intended or shall be construed as (a) an admission as

to the validity of any claim against the Debtors; (b) a waiver of the Debtors’ or any appropriate

party in interest’s rights to dispute the amount of, basis for, or validity of any claim against the

Debtors; or (c) a waiver of any claims or causes of action that may exist against any creditor or

interest holder. Likewise, if the Court grants the relief sought herein, any payment made pursuant

to the Court’s order is not intended to be and should not be construed as an admission to the validity

of any claim or a waiver of the Debtors’ rights to dispute such claim subsequently.

                         BANKRUPTCY RULE 6003(b) IS SATISFIED

         50.    Bankruptcy Rule 6003(b) provides that, to the extent relief is necessary to avoid

immediate and irreparable harm, a bankruptcy court may approve “a motion to use, sell, lease, or

otherwise incur an obligation regarding property of the estate, including a motion to pay all or part

of a claim that arose before the filing of the petition” prior to twenty-one (21) days after the Petition

Date. FED. R. BANKR. P. 6003(b). As discussed more fully above and in the Carney Declaration,

the Debtors and their estates and creditors will be irreparably harmed if the implementation of the

Store Closing Procedures, continuation of the Store Closing Sales, and assumption of the

Liquidation Consulting Agreement is delayed. Accordingly, the Debtors submit that the relief



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requested herein is necessary to avoid immediate and irreparable harm, and, therefore, Bankruptcy

Rule 6003 is satisfied.

                BANKRUPTCY RULES 6004(a) AND (h) SHOULD BE WAIVED

         51.     To implement the foregoing successfully, the Debtors seek a waiver of the notice

requirements under Bankruptcy Rule 6004(a) and the fourteen (14) day stay of an order authorizing

the use, sale, or lease of property under Bankruptcy Rule 6004(h). Pursuant to Bankruptcy Rule

6004(h), “[a]n order authorizing the use, sale, or lease of property other than cash collateral is

stayed until the expiration of fourteen (14) days after entry of the order, unless the court orders

otherwise.” FED. R. BANKR. P. 6004(h). As explained above and in the First Day Declaration, the

relief requested herein is necessary to avoid immediate and irreparable harm to the Debtors.

Accordingly, ample cause exists to justify the waiver of the notice requirements under Bankruptcy

Rule 6004(a) and the fourteen-day stay imposed by Bankruptcy Rule 6004(h), to the extent such

stay applies.

                                              NOTICE

         52.     Notice of this Motion will be given to: (a) the U.S. Trustee; (b) the holders of the

thirty (30) largest unsecured claims against the Debtors; (c) counsel to the Prepetition Secured

Lender; (d) counsel to any Stalking Horse Bidders; (e) the United States Attorney’s Office for the

District of Delaware; (f) the Internal Revenue Service; (g) all state and local taxing authorities with

an interest in the Assets; (h) the Attorney General for the State of Delaware; (i) all other

governmental agencies with an interest in the Store Closing Sales and transactions proposed

thereunder; (j) all parties known or reasonably believed to have asserted an Interest in the Store

Closing Assets; (k) the Landlords; (l) the Debtors’ insurance carriers; (m) all parties entitled to

notice pursuant to Local Rule 9013-1(m); and (n) any party that has requested notice pursuant to



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Bankruptcy Rule 2002. The Debtors submit that, under the circumstances, no other or further

notice is required.

         WHEREFORE the Debtors respectfully request entry of the Proposed Order granting the

relief requested herein and such other and further relief as the Court may deem just and appropriate.

Dated: January 27, 2020                       Respectfully submitted,
       Wilmington, Delaware
                                              POLSINELLI PC

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